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             EXHIBIT 2
                       Case 3:23-cv-03007-VC                  Document 84-4               Filed 09/16/24           Page 2 of 3
 To:
To:      'nita   Butler[abutlerctwitter.COm]
           nita Butler[abutler@twitter.com]
Cc:       Dalana Brand[dbrand@twitter.com];
         Dalana    Brand [d bra nd@twitter.COm]; Jay
                                                   Jay SullivanDays@twitter.com]
                                                         SullivanUays@twitter.com]
 From:
From:     Ned
         Ned    Segal[nedse  galtwitter.cOm]
                Segal[nedsegal@twitter.com]
Sent:
Sent:     Fri 8/19/2022
         Fri   8/19/2022 9:46:20
                         9:46:20PM PM (UTC)
                                       (UTC)
Subject: Re:
Subject:  Re: Q2Q2'22  Earnings Recap
                  '22 Earnings    Recap and
                                         and link
                                              linkto
                                                   to recording
                                                       recording

Hi Anita,
   Anita, thank
           thankyou
                you for
                     for the
                          the feedback.
                               feedback. Give
                                         Give me
                                              me aacall
                                                    call if
                                                          ifyou'd
                                                            you'd like
                                                                   like I'd
                                                                         I'd like
                                                                              like to
                                                                                    to share
                                                                                        share some
                                                                                               some thoughts
                                                                                                     thoughts that
                                                                                                               that may
Hi                                                                                                                  may be
                                                                                                                        be helpful.
                                                                                                                           helpful.


On Fri,
On Fri, Aug
        Aug 19,
             19, 2022
                 2022 at
                      at 1:44
                          1:44 PM
                               PM Anita
                                  Anita Butler
                                        Butler <abutler@twitter.com>
                                               <abutler@twitter.com> wrote:
                                                                     wrote:

   hi Ned
  hi  Ned and
            and Dalana,
                 Dalana,
   I wanted
    wanted    to
             to  ping you
                 ping   you with
                            with some
                                  some feedback
                                         feedback from
                                                     from my
                                                          my team.
                                                               team. They
                                                                     They were
                                                                           were quite
                                                                                quite confused
                                                                                      confused by  by this  email because
                                                                                                       this email  because itit didn't
  I                                                                                                                             didn't clearly
                                                                                                                                       clearly
   state that tweeps    would  only
  state that tweeps would only be    be receiving
                                         receiving 50%
                                                     50% of
                                                          oftheir
                                                             their bonus.
                                                                   bonus. Some
                                                                          Some thought
                                                                                thought itit was
                                                                                             was just
                                                                                                  just 50%
                                                                                                        50% ofofthe
                                                                                                                 the company
                                                                                                                     company portion,
                                                                                                                                 portion,
   some thought
          thought itit was
                       was only
                           only 50%
                                 50% ofoftweeps
                                           tweeps and
                                                    and were
                                                        were then
                                                              then unclear
                                                                    unclear on
                                                                            on which
                                                                               which 50%
                                                                                      50% of oftweeps.
                                                                                                tweeps. The
                                                                                                          The FAQ
                                                                                                               FAQ docdoe wasn't
  some                                                                                                                    wasn't very
                                                                                                                                   very clear
                                                                                                                                          clear
   either. Here's
  either.  Here's aaquestion
                      question that
                                that was
                                     was sent
                                          sent to
                                                to me
                                                   me directly.
                                                       directly.

   "Is there
        there any
              anyinsight
                   insightinto
                           into how
                                how these
                                     these communications
                                              communications are are being
                                                                      being crafted
                                                                             crafted in
                                                                                      in terms
                                                                                          terms of
                                                                                                ofthe
                                                                                                   the impact
                                                                                                        impact on
  "Is                                                                                                          on team
                                                                                                                   team morale?
                                                                                                                        morale?
  I/have aahard
    have      hard time
                    time understanding
                         understanding how  howno
                                                no one
                                                    one could
                                                         could have
                                                                have predicted
                                                                       predicted the
                                                                                  the turmoil
                                                                                       turmoil that would   be
                                                                                                that would be caused byNed's
                                                                                                               caused  by  Ned's
   email. This
  email.    This kind
                 kind of
                      of churn
                         churn makes
                                 makes itit harder
                                            harder for
                                                    for our
                                                        our team's
                                                             team's to
                                                                     to be
                                                                        be focused on the important work
                                                                           focused  on    the important   work we're
                                                                                                               we're doing,
                                                                                                                     doing, and
                                                                                                                            and
   erodes confidence."
  erodes     confidence."

  The confusion
       confusion over
                 over what
                       what exactly
                             exactly the
                                      the email
                                          email meant
                                                 meant caused
                                                         caused anxiety
                                                                  anxiety and
                                                                           and stress
                                                                                stress so
                                                                                        so IIheld
                                                                                             held aaquick
                                                                                                    quick meeting
                                                                                                          meeting to
  The                                                                                                              to clarify
                                                                                                                      clarify and
                                                                                                                              and
  answer questions.
  answer  questions. IIjust wanted
                      just  wanted to
                                    to send
                                        send you
                                             you both
                                                  both this
                                                        this feedback
                                                             feedback asas being
                                                                           being super
                                                                                   super clear in our comms could really help
                                                                                          clear in our comms  could  really  help
  especially now
  especially now when
                  when associates
                         associates are
                                    are already
                                         already feeling
                                                  feeling quite
                                                           quite stressed.
                                                                 stressed.

  One other
      other question
             question that
                        that came
                              came up
                                    up was:
                                       was: Did
                                            Did the
                                                 the motion
                                                     motion to
                                                             to approve
                                                                approve acquisition-related
                                                                         acquisition-related payouts
                                                                                             payouts to
                                                                                                      to execs
  One                                                                                                    execs end
                                                                                                                end up
                                                                                                                     up
  passing   in light
  passing in light   of
                     of all
                        all  this
                            this  news
                                  news  about
                                        about aa  50%
                                                 50%   reduction
                                                      reduction   in bonuses? Iexpect other associates
                                                                 in bonuses?   I expect other associates are
                                                                                                          are also
                                                                                                              also thinking
                                                                                                                   thinking
  about this
  about  this and
               and would
                    would love
                             love aaresponse
                                     response II can
                                                 can share
                                                      share with
                                                            with my
                                                                  my team.
                                                                      team.

  Thanks so
  Thanks so much,
            much,
  Anita
  Anita

  On Fri,
  On Fri, Aug
          Aug 19,
              19, 2022
                  2022 at
                       at 9:44
                          9:44 AM
                               AM Ned
                                  Ned Segal
                                      Segal <nedsegal@twitter.com>
                                            <nedsegal(twiUer.com> wrote:
                                                                   wrote:

    Team,
   Team,
    Due toto deal-related
             deal-related matters,
                              matters, wewe did
                                             did not
                                                  not yet
                                                      yet have
                                                           have aacomplete
                                                                     complete answer
                                                                                 answer in in July
                                                                                              July around
                                                                                                    around PBPPBP accrual,
                                                                                                                    accrual, but
   Due                                                                                                                         but we
                                                                                                                                   we are
                                                                                                                                        are now
                                                                                                                                             now able
                                                                                                                                                   able
    to provide
   to  provide more
                 more clarity.
                         clarity. As
                                  As aareminder,
                                         reminder, the
                                                     the bonus
                                                          bonus pool
                                                                   pool is
                                                                         is calculated based on our performance against annual, Board-
                                                                            calculated  based    on  our   performance      against  annual,    Board-
    approved revenue
   approved     revenue and and profitability
                                  profitability goals,
                                                goals, and
                                                        and isis intended
                                                                  intended toto ensure
                                                                                ensure that
                                                                                         that employees
                                                                                               employees are  are rewarded
                                                                                                                  rewarded basedbased onon Twitter's
                                                                                                                                            Twitters
    performance. Based
   performance.       Based on on our
                                    our Q2
                                         Q2 performance,
                                             performance, the    the 2022
                                                                      2022 total
                                                                             total bonus pool is now
                                                                                   bonus     pool  is now    tracking    to  50%.
                                                                                                                          to 50%.
    Since the
   Since    the Board
                Board approved
                          approved ourour 2022
                                           2022 Performance
                                                   Performance BonusBonus Plan
                                                                             Plan in
                                                                                   in January,
                                                                                      January, we havehave experienced
                                                                                                             experienced significant
                                                                                                                              significant challenges
                                                                                                                                           challenges
    to our
   to  our revenue—some
            revenue—some specificspecific to Twitter
                                              Twitter and
                                                       and the pending
                                                                   pending acquisition,
                                                                              acquisition, and some tied
                                                                                            and  some    tied  to our
                                                                                                                  our industry and
                                                                                                                       industry   and the
                                                                                                                                        the broader
                                                                                                                                             broader
    global economy.
   global   economy. We   We have
                               have adjusted
                                      adjusted quickly
                                                 quickly toto address
                                                              address these
                                                                         these challenges
                                                                                 challenges - reducing
                                                                                                 reducing expense
                                                                                                             expense growth
                                                                                                                         growth byby limiting
                                                                                                                                      limiting our
                                                                                                                                               our
    hiring, re-evaluating
                                                                                               -




   hiring,  re-evaluating our our real
                                   real estate
                                         estate footprint
                                                 footrrint to better
                                                               better reflect
                                                                       reflect the
                                                                                the current
                                                                                     current environment,
                                                                                               environment, and and appropriately
                                                                                                                     appropriately reducing
                                                                                                                                       reducing 2022
                                                                                                                                                   2022
   expenses related
                 related toto contractor,
                              contractor, marketing,
                                            marketing, infrastructure,
                                                          infrastructure, andand other
                                                                                  other items.
                                                                                         items. Unfortunately,
                                                                                                  Unfortunately, this
                                                                                                                    this is
   expenses                                                                                                               is not
                                                                                                                             not enough
                                                                                                                                  enough to to offset
                                                                                                                                               offset the
                                                                                                                                                       the
    challenges we
   challenges     we have
                       have experienced
                              experienced to revenue.
                                                  revenue. WeWe have
                                                                   have put
                                                                          put together this FAQFAQ to answer
                                                                                                        answer additional
                                                                                                                  additional questions
                                                                                                                                questions youyou might
                                                                                                                                                  might
    have.
   have.
    I'm sure
   I'm   sure this
              this is
                    is frustrating
                       frustrating toto read
                                        read on
                                              on many
                                                   many levels.
                                                          levels. II want to thank you for  for your
                                                                                                your focus as as we move
                                                                                                                      move through this together,
   as our
   as   our work
            work has
                   has never
                         never been
                                 been more
                                         more important
                                               important (or(or more
                                                                 more challenging!).
                                                                       challenging!). Many
                                                                                         Many of of you  are   going  to extraordinary
                                                                                                                          extraordinary efforts
                                                                                                                                           efforts to
                                                                                                                                                    to
   navigate this
   navigate    this environment,
                     environment, and and we areare excited
                                                     excited about
                                                               about the future of  of our  business.
                                                                                            business.
   Ned
   Ned

   On Fri,
      Fri, Jul
           Jul 22,
               22, 2022
                   2022 at 11:56
                           11:56 AM Ned Segal <nedsegal@twitter.com>
                                              <nedsegaltwitter.com> wrote:
   On                                                                                                                         b&CiEXHIBIT
                                                                                                                              WITNESS:
                                                                                                                              WITNESS:_______
                                                                                                                                       g      _________
    Team,                                                                                                                     DATE:     — 5 - 0P-
                                                                                                                              DATE:5
    Thank you
    Thank     you to
                  to everyone
                     everyone who joined us today for our Q202 2022 Earnings
                                                                     Earnings all hands.
                                                                                   hands.
                                                                                                                                             --_




                                                                                                                              Anrae Wimberley, CSR
                                                                                                                                               CSR 7778
                                                                                                                                                   7778
    IfIf you
         you weren't
             weren't able
                     able to join, we recorded
                                      recorded it for you and captured the highlights
                                                                           highlights below:

           ••Average mDAU was                                 and            year over year, driven by
                                                                                                    by ongoing
                                                                                                       ongoing product
                                                                                                               product improvements
                                                                                                                       improvements
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         Gnd
         and global
               global conversatio
                      conversationn around
                                    around current events.
                                                    events.
  01               US mDAU
                       mDAU grew           and
                o
                o US          grew         and MI year over year!year!
          •• Q2 revenue was
             Q2 revenue   was                  (excluding MoPub and
                                        ME (excluding                  Crossinstall).
                                                                  and Crosslnstall).
                o Ads
                o       revenue grew
                   Ads revenue  grew MI or or III on
                                                   on a
                                                      a constant currency basis.
                                                                           basis.
         •• Q2
             Q2 adjusted  EBITDA was
                adjusted EBITDA    was               margin.
                                                     margin.

         •• We
            We do not have
               do not have an update on
                           an update      PBP accrual
                                       on PBP          right now
                                               accrual right now due
                                                                  due to
                                                                       to the
                                                                          the ongoing
                                                                              ongoing acquisition;
                                                                                      acquisition; we
                                                                                                   we know this
                                                                                                           this visibility is
         important to you and we will report back as soon
         important to you and we will report back as soon as  practical.
                                                           as practical.

   A
   A couple
     couple notes to      in mind:
                  to keep in

         1. Check
         1.  Check in
                    in on  how we're
                       on how    we're doing
                                        doing on
                                              on our
                                                  our company
                                                      company OKRs for 2022 (Objectives + Key Results).
                                                                                                     Results).
         2.
         2. The
             The trading
                 trading window
                           window will
                                    will open
                                         open on  Monday, July
                                              on Monday,    July 25
                                                                 25 at
                                                                    at 6:30am
                                                                        6:30am PT and
                                                                                   and will
                                                                                        will close
                                                                                             close on
                                                                                                   on Wednesday
                                                                                                      Wednesday,  , August 31
                                                                                                                           31 at
         1:00pm PT.
         1:00pm   PT. Please
                       Please remember
                                remember you     are not
                                            you are  not allowed
                                                         allowed to
                                                                  to trade
                                                                     trade Twitter
                                                                           Twitter stock
                                                                                   stock if you
                                                                                            you have material nonpublic
         information. Not
         information.  Not sure?
                            sure? Please
                                   Please review
                                            review our  Insider Trading
                                                   our Insider  Trading Policy for additional  information. For all other
                                                                                   additional information.
         questions,
         questions, visit
                     visit qo/Eciuity.
                           qo/Equity.

   Thank
   Thank you
         you for all you
             for all you do.
                         do.
   Ned
   Ned




   Ned Segal
   Ned Segal
   Chief Financial Officer
   Chief Financial
   nedseqaI.twi
   nedsedal     tter.COm II
             twitter.com   @ nedsegal
                           @nedsegal




Ned Segal
Ned
Chief Financial Officer
Chief

nedseqaIcJtwitter.COm II
nedsegal(&twitter.com  @nedsegal
                        @nedsegal
